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 1                             UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3

 4 United States of America,                             Case No. 2:14-cr-00178-JAD-GWF

 5         Plaintiff

 6 v.                                                            Order on Mandate

 7 Ian Alexander Pincombe,

 8         Defendant

 9

10        An appeal from this action was filed in United States Court of Appeals for the Ninth

11 Circuit, and on 9/8/2020, the Court of Appeals issued its judgment AFFIRMING in part,

12 VACATING in part, and REMANDING the judgment of this Court. See ECF No. 277. IT IS

13 THEREFORE ORDERED that the mandate be spread upon the records of this Court.

14        IT IS FURTHER ORDERED that the parties appear for resentencing in this matter on

15 November 19, 2020, at 1:30 p.m. Counsel is directed to appear in person. The defendant will

16 be appearing via videoconference by consent.

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18 Dated: October 2, 2020

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                                                          U.S. District Court Judge
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